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     SDN. BHD.
 9

10                                    UNITED STATES DISTRICT COURT

11                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

12                                        SAN FRANCISCO DIVISION

13
     IN RE: CATHODE RAY TUBE (CRT)                           Master File No. 3:07-CV-5944 SC
14   ANTITRUST LITIGATION                                    MDL No. 1917
     _______________________________________
15                                                           DEFENDANTS CHUNGHWA PICTURE
     This Document Relates To:                               TUBES, LTD. AND CHUNGHWA
16                                                           PICTURE TUBES (MALAYSIA) SDN.
     Best Buy Co. Inc. et al. v. Hitachi, Ltd. et al., No.   BHD.’S NOTICE OF LIMITATION OF
17   3:11-cv-05513-SC                                        DAMAGES PURSUANT TO ANTITRUST
                                                             CRIMINAL PENALTY ENHANCEMENT
18   Sears, Roebuck and Co. et al. v. Chunghwa               AND REFORM ACT OF 2004
     Picture Tubes, Ltd. et al., No. 3:11-cv-05514-SC
19
     Target Corp. v. Chunghwa Picture Tubes, Ltd. et
20   al., No. 3:11-cv-05514-SC
21   ViewSonic Corp. v. Chunghwa Picture Tubes,
     Ltd. et al., No. 3:14-cv-02510-SC
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                         CPT’S NOTICE OF ACPERA BENEFITS – MASTER CASE NO. 07-CV-5944 SC
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 1   TO THE COURT, THE CLERK, ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2           PLEASE TAKE NOTICE that in connection with the trial currently scheduled to commence
 3   on March 9, 2015 in this matter, Defendants Chunghwa Picture Tubes, Ltd. and Chunghwa Picture
 4   Tubes (Malaysia) Sdn. Bhd. (collectively, “CPT”), will and hereby do assert the protections offered
 5   under the Antitrust Criminal Penalty Enhancement and Reform Act of 2004, Pub. L. No. 108-237,
 6   118 Stat. 661, § 213(a) (“ACPERA”) that limit any recovery from CPT to “actual damages sustained
 7   by” a plaintiff that are “attributable to the commerce done by” CPT.
 8           CPT self-reported conduct related to cathode ray tubes to the U.S. Department of Justice and
 9   obtained amnesty from criminal prosecution pursuant to the Antitrust Division’s Leniency Program.
10   See Decl. of Rachel Brass in Support of Notice, Ex. A (leniency agreement). ACPERA relieves a
11   successful leniency applicant, here CPT, from exposure to treble damages and joint-and-several
12   liability in any civil action:
13           [I]n any civil action alleging a violation of section 1 or 3 of the Sherman Act, or alleging a
14           violation of any similar State law, based on conduct covered by a currently effective antitrust
             leniency agreement, the amount of damages recovered by or on behalf of a claimant from an
15           antitrust leniency applicant who satisfies the [cooperation] requirements of subsection (b),
             together with the amounts so recovered from cooperating individuals who satisfy such
16           requirements, shall not exceed that portion of the actual damages sustained by such claimant
             which is attributable to the commerce done by the applicant in the goods or services affected
17
             by the violation.
18   ACPERA § 213(a) (emphasis added). CPT intends to demonstrate that it has satisfied its statutory
19   cooperation obligations and is therefore entitled to the benefits of ACPERA. Accordingly, any
20   damages that Direct Action Plaintiffs seek to recover from CPT must be limited to “actual damages”
21   they can prove they “sustained” that are directly “attributable to the commerce done by” CPT.
22
     DATED: January 15, 2015                       GIBSON, DUNN & CRUTCHER LLP
23

24
                                                   By:         /s/ Joel S. Sanders
25                                                           Joel S. Sanders

26                                                 Attorneys for Defendants
                                                   CHUNGHWA PICTURE TUBES, LTD and
27                                                 CHUNGHWA PICTURE TUBES (MALAYSIA) SDN.
                                                   BHD.
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                          CPT’S NOTICE OF ACPERA BENEFITS – MASTER CASE NO. 07-CV-5944 SC
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 1                                             DECLARATION OF SERVICE
 2            I, Joseph Hansen, declare as follows:
 3           I am employed in the County of San Francisco, State of California; I am over the age of
     eighteen years and am not a party to this action; my business address is 555 Mission Street, Suite
 4   3000, San Francisco, California, 94105, in said County and State. On the date below, I served the
     within:
 5
              DEFENDANTS CHUNGHWA PICTURE TUBES, LTD. AND CHUNGHWA
 6            PICTURE TUBES (MALAYSIA) SDN. BHD.’S NOTICE OF LIMITATION OF
              DAMAGES PURSUANT TO ANTITRUST CRIMINAL PENALTY ENHANCEMENT
 7            AND REFORM ACT OF 2004

 8   to all named counsel of record as follows:

 9                 BY ECF (ELECTRONIC CASE FILING): I e-filed the above-detailed documents utilizing the

10 
                   United States District Court, Northern District of California’s mandated ECF (Electronic Case Filing) service
                   on January 15, 2015. Counsel of record are required by the Court to be registered e-filers, and as such are
                   automatically e-served with a copy of the documents upon confirmation of e-filing.
11
            I certify under penalty of perjury that the foregoing is true and correct, that the foregoing
12   document(s) were printed on recycled paper, and that this Declaration of Service was executed by me
     on January 15, 2015, at San Francisco, California.
13

14                                                                           /s/ Joseph Hansen
                                                                                  Joseph Hansen
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                              CPT’S NOTICE OF ACPERA BENEFITS – MASTER CASE NO. 07-CV-5944 SC
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           7     Attorneys for Defendants
                 CHUNGHWA PICTURE TUBES, LTD. and
           8     CHUNGHWA PICTURE TUBES (MALAYSIA)
                 SDN. BHD.
           9

         10
                                                  UNITED STATES DISTRICT COURT
         11
                                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
         12
                                                      SAN FRANCISCO DIVISION
         13

         14      IN RE: CATHODE RAY TUBE (CRT)                           Master File No. 3:07-CV-5944 SC
                 ANTITRUST LITIGATION                                    MDL No. 1917
         15      _______________________________________
                                                                         DECLARATION OF RACHEL S. BRASS
         16      This Document Relates To:                               IN SUPPORT OF DEFENDANTS
                                                                         CHUNGHWA PICTURE TUBES, LTD.
         17      Best Buy Co. Inc. et al. v. Hitachi, Ltd. et al., No.   AND CHUNGHWA PICTURE TUBES
                 3:11-cv-05513-SC                                        (MALAYSIA) SDN. BHD.’S NOTICE OF
         18                                                              LIMITATION OF DAMAGES PURSUANT
                 Sears, Roebuck and Co. et al. v. Chunghwa               TO ANTITRUST CRIMINAL PENALTY
         19                                                              ENHANCEMENT AND REFORM ACT OF
                 Picture Tubes, Ltd. et al., No. 3:11-cv-05514-SC        2004
         20
                 Target Corp. v. Chunghwa Picture Tubes, Ltd. et
         21      al., No. 3:11-cv-05514-SC
         22      ViewSonic Corp. v. Chunghwa Picture Tubes,
                 Ltd. et al., No. 3:14-cv-02510-SC
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Gibson, Dunn &
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Crutcher LLP
                         DECLARATION OF RACHEL S. BRASS IN SUPPORT OF CPT AND CPTM’S NOTICE OF ACPERA BENEFITS
                                                     MASTER CASE NO. 07-CV-5944 SC
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                          I, Rachel S. Brass, hereby declare as follows:
           2
                          1.     I am a partner in the law firm of Gibson, Dunn & Crutcher LLP, counsel of record for
           3
                 Chunghwa Picture Tubes, Ltd. (“CPT”) and Chunghwa Picture Tubes (Malaysia) Sdn. Bhd.
           4
                 (“CPTM”) in the above-referenced action.
           5
                          2.     I submit this declaration in support of Defendants CPT and CPTM’s Notice of
           6
                 Limitation of Damages Pursuant to Antitrust Criminal Penalty Enhancement and Reform Act of
           7
                 2004. Unless otherwise indicated, I have personal knowledge of the foregoing and could and would
           8
                 testify to the same if called as a witness in this matter.
           9
                          3.     Attached as Exhibit A is a true and correct copy of the leniency agreement entered
         10
                 into between Chunghwa Picture Tubes, Ltd. and its subsidiaries (including CPTM) and the Antitrust
         11
                 Division of the U.S. Department of Justice.
         12
                          I declare under penalty of perjury that the foregoing is true and correct.
         13
                          Executed this 15th day of January 2015, at San Francisco, California.
         14

         15                                                      By:     /s/ Rachel S. Brass
                                                                               Rachel S. Brass
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Gibson, Dunn &
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Crutcher LLP
                           DECLARATION OF RACHEL S. BRASS IN SUPPORT OF CPT AND CPTM’S NOTICE OF ACPERA BENEFITS
                                                       MASTER CASE NO. 07-CV-5944 SC
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